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 4
 5   Attorney for Defendant,
     EDGAR GARCIA BANOS
 6
 7

 8                                        UNITED STATES DISTRICT COURT
 9                                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       )       CASE NO. 1:12-cr-00373-AWI-DLB
                                                     )
12                                                   )
                                                     )       STIPULATION AND
13                                                   )       ORDER FOR CONTINUANCE OF
                                   Plaintiff,        )       STATUS CONFERENCE
14                                                   )
     vs.                                             )
15                                                   )
     ESTEBAN ABREGO-BANOS, and                       )       Date:    January 14, 2013
16   EDGAR GARCIA-BANOS,                             )       Time:    1:00 PM
                                                     )       Judge:   Hon. Barbara J. McAuliffe
17                                 Defendants.       )
                                                     )
18
19            IT IS HEREBY STIPULATED by and between the parties hereto, and through their
20   respective attorneys of record herein, that the Status Conference in the above captioned matter set
21   for December 10, 2012, be continued to January 14, 2013 at 1:00 P.M.
22            The undersigned Defense Counsel has been unable to meet with her client. For two

23   weeks prior to the Thanksgiving holiday, there was no space on the bus from Lerdo. She is now
24   out of town until December 8, 2012, and will have no opportunity to meet with her client prior to
25   the scheduled status conference. The parties have agreed to the next available date of January 14,
26   2013 at 1:00 PM.
27   ///

28   ///



     STIPULATION RE: CONTINUANCE
     AND [PROPOSED] ORDER                                1
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 1            The parties agree that the delay resulting from the continuance shall be excluded in the
 2   interests of justice, including but not limited to, the need for the period of time set forth herein

 3   for further defense preparation pursuant to 18 U.S.C. § 3161(h)(7)(A) and(B).
 4   Dated: November 28, 2012                                 /s/ Carol Ann Moses
                                                              CAROL ANN MOSES
 5                                                            Attorney for Defendant
                                                              EDGAR GARCIA-BANOS
 6
 7   Dated: November 28, 2012                                /s/ Roger K. Litman
                                                             ROGER K. LITMAN
 8                                                           Attorney for Defendant
                                                             ESTEBAN ABREGO-BANOS
 9
                                                              BENJAMIN B. WAGNER
10                                                            United States Attorney
11   Dated: November 28, 2012                                /s/ Laurel J. Montoya
                                                             LAUREL J. MONTOYA
12                                                           Assistant United States Attorney

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14
15                                                   ORDER
16            IT IS SO ORDERED. Time is excluded in the interests of justice pursuant to 18 U.S.C.
17   § 3161(h)(A)(B).

18          IT IS SO ORDERED.
19      Dated:         November 29, 2012                          /s/ Dennis L. Beck
     3b142a                                               UNITED STATES MAGISTRATE JUDGE
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     STIPULATION RE: CONTINUANCE
     AND [PROPOSED] ORDER                                2
